      Case 2:18-cv-01666-SM-MBN Document 27 Filed 04/03/19 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

 KAREN L. PLAUCHE,                                                CIVIL DOCKET
     Plaintiff

 VERSUS                                                           NO. 18-1666

 METROPOLITAN LIFE                                                SECTION: “E” (5)
 INSURANCE COMPANY,
     Defendant



                               ORDER OF DISMISSAL
      The Court having been advised that all parties have firmly agreed upon a

compromise in this matter;

      IT IS ORDERED that this action be and is hereby dismissed as to all parties,

without costs and without prejudice to the right, upon good cause shown, within sixty

days, to reopen the action if the settlement is not consummated. In addition, the Court

specifically retains jurisdiction to enforce the settlement agreement if settlement is not

consummated within sixty days. See Fed. R. Civ. P. 41(a)(2); Kokkonen v. Guardian Life

Ins. Co. of Am., 511 U.S. 375, 381-82 (1994); Hospitality House, Inc. v. Gilbert, 298 F.3d

424, 430 (5th Cir. 2002).

      COUNSEL ARE REMINDED THAT, IF WITNESSES HAVE BEEN

SUBPOENAED, EVERY WITNESS MUST BE NOTIFIED BY COUNSEL NOT

TO APPEAR.

              New Orleans, Louisiana, this 3rd day of April, 2019.


                     ________________________________
                              SUSIE MORGAN
                       UNITED STATES DISTRICT JUDGE
